Case 3:15-cv-01175-HLA-.]RK Document 1 Filed 10/01/15 Page 1 of 8 Page|D 1

 

"F"ll.;ED
UNITED STATES DlsTRICT couRT
MlDDLE DISTRICT or FLoRIDA 39159"3 'l F»`l |‘ 53
JAcKsoNvlLLE DlvlsloN c;_,_:;_.;; ,;§; T_}§‘_|.§_§';; {`;LGU*RT
ANGELA ADAMS, ` ` 7 -;3`.'§ .‘;`;';Li; `.é¥_`t ;':tt':,-`x`
Plamtlff, 1 g )/ ja `[,
-vs- cAsENo.: 3.'15'0`/` " '

REGIONS FINANCIAL CORPORATION,

Defendant.

MPLM
Plaintiff, ANGELA ADAMS, by and through her undersigned counsel, sues the
Defendant, REGIONS FINANCIAL CORPORATION, and in support thereof respectfully
alleges the following:
1. Plaintiff alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. §227 et
seq. (“TCPA”) and the Florida Consumer Collections Practices Act, Chapter 559, et seq.
(“FCCPA”).
.M_ROM

2. The TCPA was enacted to prevent companies like REGIONS FINANCIAL
CORPORATION from invading American citizen’s privacy and prevent abusive “robo-calls.”
3. “'l`lle TCPA is designed to protect individual consumers from receiving intrusive and

unwanted telephone calls.” Mims v. A)'row Fin. Servs. LLC, -US--, 132 S.Ct., 740, 745, 181,

 

L.Ed. 2d 881 (2012).
4. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the *1256 scourge of
modern civilization, they wake us up in the moming; they interrupt our dinner at night; they

force the sick and elderly out of bed; they hound us until we Want to rip the telephone out of the

Case 3:15-cv-01175-HLA-.]RK Document 1 Filed 10/01/15 Page 2 of 8 Page|D 2

wall.”’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone
subscribers another option: telling the autodialers to simply stop calling.” Osorio v. State Farm

B¢mk F.s.B., 746 F. 3d 1242 (11'h cir. 2014).

 

5. According to the Federal Communications Commission (FCC), “Unwanted calls and
texts are the number one complaint to the FCC. There are thousands of complaints to the FCC

every month on both telemarketing and robocalls. The FCC received more than 215,000 TCPA

complaints in 2014." hgps://www.fcc.gov/document/fact-sheet-consumer-p_rotection-proposal

JURlSDICTlON AND VENUE
6. This is an action for damages exceeding chenty-Five 'l`housand Dollars ($75,000.00)
exclusive of interest and costs.
7. Jurisdiction and venue for purposes of this action are appropriate and conferred by 28
U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the TCPA
and/or by F.S. § 47.01 l and/or by 28 U.S.C. § 1332, diversity jurisdiction.
8. Subject matter jurisdiction, federal question jurisdiction, for purposes of this action is
appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts shall have
original jurisdiction of all civil actions arising under the Constitution, laws, or treaties of the
United States; and this action involves violations of 47 U.S.C. § 227(b)(1)(A)(iii). See Mims v.
Arrow Fin. Servs., LLC, 132 S.Ct. 740, 748 (2012) and Osorio v. State Farm Bank, F.S.B., 746
F.3d 1242, 1249 (11ch Cir. 2014).
9. Venue is proper in this District because the Plaintiff resides in this District (Duval County),
the phone calls were received in this District, and the Defendant transacts business in Duval
County, Florida.

FACTUAL ALLEGATIONS

Case 3:15-cv-01175-HLA-.]RK Document 1 Filed 10/01/15 Page 3 of 8 Page|D 3

10. Plaintiff is a natural person, and citizen of the State of Florida, residing in Duval County,
Florida, and resides in this District,

ll. Plaintiff is a “consumer” as defined in Florida Statute 559.55(2).

12. Plaintiff is an “alleged debtor."

13. Plaintiff is the “called party.” See Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637,
643 (7th Cir. 2012), reh'g denied (May 25, 2012).

14. Defendant is a “debt collector” as defined by Florida Statute §559.55(6). Defendant
sought to collect a debt from Plaintiff.

15. The debt that is the subject matter of this complaint is a “consumer debt” as defined by
Florida Statute §559.55(1).

16. Defendant Regions Financial Corporation is an Alabama business entity with an address
of 1900 Fifth Avenue North, Birmingham, AL 35203, and is a “person” as defined by 47
U.S.C.A. § 153(39).

17. Defendant has a registered agent in Florida: Corporation Service Company, 1201 Hayes
Street, 'I`allahassee, FL 32301-2525.

18. The conduct of the Defendant which gave rise to the cause of action herein alleged
occurred in this District, Duval County, Florida, by the Defendant placing illegal calls to Duval
County, Florida.

l9. Defendant, at all material times, was attempting to collect on a debt, (hereinafter the
“subject account”), which was issued and serviced by Defendant.

20. Defendant knowingly and/or willfully harassed and abused P|aintiff on numerous
occasions by calling Plaintiff’s cellular telephone number multiple times per day during a time

including, but not limited to, January 18, 2015 through the filing of this complaint, with such

Case 3:15-cv-01175-HLA-.]RK Document 1 Filed 10/01/15 Page 4 of 8 Page|D 4

frequency as can reasonably be expected to harass, all in an effort related to the collection of the
subject account.
21. Upon information and bclief, some or all of the calls the Defendants made to Plaintiff’s
cellular telephone number were made using an “automatic telephone dialing system” which has
the capacity to store or produce telephone numbers to be called, using a random or sequential
number generator (including but not limited to a predictive dialer) or an artificial or prerecorded
voice; and to dial such numbers as specified by 47 U.S.C § 227(a)(1) (hereinafter “autodialer
calls”).
22. Plaintiff will testify that many of the calls at issue were placed by the Defendant using a
“prerecorded voice,” as specified by the TCPA, 47 U.S.C. § 227(b)(1)(A).
23. Each of the autodialer calls the Defendants made to Plaintiff’s cellular telephone number
after .lanuary 18, 2015 were done without the “prior expressed consent” of the Plaintiff.
24. Plaintiff is the regular user and carrier of the cellular telephone number, (904) ***-3022,
and was the “called party" and recipient of Defendants autodialer calls.
25. The autodialer calls from the Defendant came from the telephone number including but
not limited to (205) 451-0859. When this number is called a pre-recorded message or an agent
answers and identities the company as “Regions Bank”.
26. The Plaintiff began a non-exclusive log of the calls she received from (205) 451-0859 on
or about August 12, 2015. Between August 12, 2015 and August 27, 2015 the Plaintiff logged 16
calls from the Defendant, including:

August 12;

August 13;

August 17 (twice);

Case 3:15-cv-01175-HLA-.]RK Document 1 Filed 10/01/15 Page 5 of 8 Page|D 5

August 18 (twice);

August 19;

August 20 (twice);

August 21;

August 24 (twice);

August 25 (twice);

August 26; and

August 27.
27. The Plaintiff` first revoked her consent to being called by Regions on or about January 18,
2015, by telling an agent for the Defendant “please don’t ca11 me anymore.” The Plaintiff
estimates she has received at least 200 calls total from the Defendant since revoking her consent
at that time.
28. The Defendant has a corporate policy to use an automatic telephone dialing system or a
pre-recorded or artificial voice, and to make autodialer calls just as they did to Plaintist cellular
telephone in this case, with no way for the called party and recipient of the calls, or the
Defendants, to permit the removal of the incorrect number.
29. Despite actual knowledge of their wrongdoing, the Defendant continued the campaign of
autodialer calls.
30. The Defendant’s corporate policy is structured as to continue to ca11 individuals like the
Plaintiff, despite the individual, like Plaintiff, advising Defendant to stop calling.
31. The Defendant’s corporate policy provided no means for the Plaintiff to have her cellular
number removed from the ca11 list, or otherwise permit the cessation of and/or suppression of

calls to Plaintiff,

Case 3:15-cv-01175-HLA-.]RK Document 1 Filed 10/01/15 Page 6 of 8 Page|D 6

32. The Defendant has defended numerous other federal lawsuits alleging similar violations
as stated in this complaint

33. The Defendant has numerous complaints against them across the country asserting that
their automatic telephone dialing system continues to ca11 the wrong people or people who have
revoked consent to be called,

34. The Defendant knowingly employed methods and/or has a corporate policy designed to
harass and abuse individuals and has set up their autodialer in a manner which makes it virtually
impossible for the autodialer calls to stop.

35. The Defendant knowingly employed methods that did not permit the cessation of or
suppression of autodialer calls to Plaintiff’s cellular telephone.

36. Due to the Defendant’s constant autodialer calls and demands for payment Plaintiff has
suffered statutory and actual damages in the form of emotional distress, frustration, worry, anger,
and/or loss of capacity to enjoy life.

COUNT l
(Violation of the TCPA)

37. Plaintiff re-alleges and incorporates Paragraphs one (l) through thirty-six (36) above as
if fully stated herein.

38. None of Defendant’s autodialer calls placed to Plaintiff were for “emergency purposes”
as specified in 47 U.S.C. § 227(b)(1)(A).

39. The Defendant violated the TCPA, with respect to all of its autodialer calls made to
Plaintiff"s cellular telephone number after Plaintiff revoked consent to be called and without
Plaintiff's prior express consent,

40. The Defendant willfully and/or knowingly violated the TCPA, especially for each of the

autodialer calls made to Plaintiff"s cellular telephone after Plaintiff notified Defendant on

Case 3:15-cv-01175-HLA-.]RK Document 1 Filed 10/01/15 Page 7 of 8 Page|D 7

January 18, 2015, when Plaintiff again verbally withdrew, revoked, and/or terminated any
alleged consent Defendant believed it had to contact her, and told the Defendant to stop calling
her.

41. The Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s cellular
telephone using an automatic telephone dialing system or prerecorded or artificial voice without
Plaintiff's prior express consent in violation of federal law, including 47 U.S.C §
227(b)(1)(A)(iii).

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant, REGIONS FINANCIAL CORPORATION, for statutory damages,
actual damages, treble damages, punitive damages, costs, interest, and any other such relief the
court may deem just and proper.

COUNT II
(Violation of the FCCPA)

42. Plaintiff incorporates Paragraphs one (1) through thirty-six (36) above as if fully set forth
herein.

43. At all times relevant to this action Defendant is subject to and must abide by the law of
Florida, including Florida Statute §559.72.

44. The Defendant violated Florida Statute §559.72(7) by willfully communicating with the
debtor or any member of her or his family with such frequency as can reasonably be expected to
harass the debtor or his family. Defendants continued to call Plaintiff without Plaintiff`s prior
express consent and after Plaintiff informed Defendants to stop calling. Defendants called
Plaintiff almost daily which is a frequency that can be reasonably expected to harass.

45. The Defendant’s actions have directly and proximately resulted in Plaintiff`s prior and

continuous sustaining of damages as described by Florida Statute §559.77.

Case 3:15-cv-01175-HLA-.]RK Document 1 Filed 10/01/15 Page 8 of 8 Page|D 8

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendants, REGIONS FINANCIAL CORPORATlON for statutory
damages, punitive, actual damages, treble damages, costs, interest, and any other such relief the
court may deem just and proper.

Respectliilly submitted,

/s/ FrankH. Kernev III, Esq.
Frank H. Kemey III, Esquire
Morgan & Morgan, P.A.
201 North Franklin Street, 7‘h Floor
Tampa, FL 33602
Tele: (813) 223-5505
Fax: (813) 223-5402
Florida Bar #: 88672
Attomey for Plaintiff
FKerne forthe eo le.com

